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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 American Library Association, et al.,

                        Plaintiffs,

                v.                                   Case No. 1:25-cv-01050

 Keith Sonderling, et al.,

                        Defendants.




                                      JOINT STATUS REPORT

       The parties respectfully submit this joint status report pursuant to the Memorandum Order

of May 1, 2025. ECF 36. The parties met and conferred on May 6, 2025, regarding (1) whether the

parties require any supplemental briefing on the preliminary injunction and, if so, the appropriate

briefing schedule; and (2) whether the parties consent to the Court extending the temporary

restraining order until the Court issues a ruling on the preliminary injunction or the case is

otherwise resolved. The parties’ respective positions are set forth below.

       Plaintiffs’ Position

       1. If the Court extends the temporary restraining order pursuant to Federal Rule of Civil

Procedure 65(b)(2), Plaintiffs expect to move for leave to supplement the record with additional

facts by May 15, 2025. Counsel for Defendants informed Plaintiffs that they consent to Plaintiffs’

motion for leave to supplement the record but they reserve the right to seek leave to file a response

to the supplement. Plaintiffs also expect to file a very short brief alerting the Court to supplemental

authorities relevant to the issues in Plaintiff’s pending motion for preliminary injunction by May

15, 2025. In the event that the Court does not extend the temporary restraining order, Plaintiffs

respectfully suggest that they make these filings by May 13, 2025.
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       2. Plaintiffs consent to the Court extending the temporary restraining order until the Court

issues a ruling on the preliminary injunction or the case is otherwise resolved. Notwithstanding

Defendants’ position, Plaintiffs submit that there is good cause to extend the TRO pursuant to

FRCP 65(b)(2) given that Defendants had the opportunity to be heard by the Court prior to the

entry of the TRO and in light of the substantial issues at stake in the litigation.

       3. Plaintiffs understand that Defendants intend to move for reconsideration of the May 1

Memorandum Order. Plaintiffs will oppose the motion for reconsideration. The Court issued a

“limited” temporary restraining order, see ECF 36 at 5, and the standard for altering or amending

that order is not met here. See Williams v. Savage, 569 F. Supp. 2d 99, 108 (D.D.C. 2008) (setting

forth standard for reconsideration of interlocutory decision). Specifically, there has been no

intervening change of controlling law, and the legal principles upon which the order is based

remain sound. Nor has any new evidence come to light; the facts on the record indicating the

Defendants have been dismantling the Institute of Museum and Library Services remain

undisturbed. And there is no clear error to correct or manifest injustice to avert. Especially given

the irreparable harms Plaintiffs would experience absent the temporary restraining order, justice

does not require reconsideration of the order.

       Defendants’ Position

       4. Defendants do not consent to an extension of the TRO. Today, Defendants will file a

Motion for Reconsideration of the Court’s May 1, 2025 Memorandum Order and Notice of

Supplemental Authority in support of its opposition to Plaintiffs’ request for a preliminary

injunction. Defendants respectfully submit that the D.C. Circuit’s recent order in Widakuswara v.

Lake, No. 25-5144, 2025 WL 1288817, at *2 (D.C. Cir. May 3, 2025), supports Defendants’

arguments in opposition, including lack of subject-matter jurisdiction, and warrants




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reconsideration of the Court’s Order granting Plaintiffs’ TRO request. Defendants also reserve the

right to file a very short brief alerting the Court to supplemental authorities relevant to the issues

in Plaintiff’s pending motion for preliminary injunction by May 15, 2025.

 Dated: May 6, 2025                                Respectfully submitted,

                                                   /s/ Rachel L. Fried
                                                   Rachel L. Fried (DC Bar No. 1029538)
                                                   Orlando Economos (DC Bar No.
                                                   90013791)
                                                   Kayla M. Kaufman (DC Bar No.
                                                   90029091)
                                                   Robin F. Thurston (DC Bar No. 1531399)
                                                   Skye Perryman (DC Bar No. 984573)
                                                   Democracy Forward Foundation
                                                   P.O. Box 34553
                                                   Washington, DC 20043
                                                   (202) 448-9090
                                                   rfried@democracyforward.org
                                                   oeconomos@democracyforward.org
                                                   kkaufman@democracyforward.org
                                                   rthurston@democracyforward.org
                                                   sperryman@democracyforward.org

                                                   /s/ Chris Gair
                                                   Chris Gair (Ill. Bar No. 6190781)*
                                                   Vilia Dedinas (Ill. Bar No. 6191614)*
                                                   John Gallo (Ill. Bar No. 6193988)*
                                                   Ingrid Yin (Ill. Bar No. 6339857)*
                                                   Gair Gallo Eberhard LLP
                                                   1 E. Wacker Drive, Suite 2600
                                                   Chicago, Illinois 60601
                                                   (312) 600-4900
                                                   cgair@gairgallo.com
                                                   vdedinas@gairgallo.com
                                                   jgallo@gairgallo.com
                                                   iyin@gairgallo.com

                                                   Counsel for Plaintiffs

                                                   * Admitted pro hac vice




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                             YAAKOV M. ROTH
                             Acting Assistant Attorney General

                             ERIC J. HAMILTON
                             Deputy Assistant Attorney General
                             Civil Division, Federal Programs Branch

                             JOSEPH E. BORSON
                             Assistant Branch Director
                             Federal Programs Branch

                             /s/ Abigail Stout
                             ABIGAIL STOUT
                             (DC Bar No. 90009415)
                             Counsel
                             U.S. Department of Justice
                             Civil Division
                             950 Pennsylvania Avenue, NW
                             Washington, DC 20530
                             Telephone: (202) 514-2000
                             Email: Abigail.Stout@usdoj.gov

                             /s/_Heidy L. Gonzalez____________
                             JULIA A. HEIMAN (D.C. Bar No. 986228)
                             HEIDY L. GONZALEZ (FL Bar No. 1025003)
                             Federal Programs Branch
                             U.S. Department of Justice, Civil Division
                             1100 L Street, N.W.
                             Washington, DC 20005
                             Tel. (202) 616-8480 / Fax (202) 616-8470
                             julia.heiman@usdoj.gov

                             Attorneys for Defendants




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